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1 | Ronald P. Oines (State Bar No. 145016)
email: roines@rutan.com
2 | Chelsea A. Epps (State Bar No. 261026)
email: cepps rutan.com
3 | RUTAN CKER, LLP
611 Anton Boulevard, Fourteenth Floor
4 | Costa Mesa, California 92626-1931
Telephone: 714-641-5100
5 || Facsimile: 714-546-9035
6 | Attorneys for Plaintiffs PIPE RESTORATION nnd
TECHNOLOGIES, LLC, ACE DURAFLO i my
7| SYSTEMS, LLC and PIPE RESTORATION, INC. - bh
8 UNITED STATES DISTRICTCOURT) 9% & ~
9 CENTRAL DISTRICT OF CALIFORNIA.) =
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11 | PIPE RESTORATION Case No. SACV 13-00499 CJC (RNBx)
TECHNOLOGIES, LLC, a Nevada
12 | Limited Liability Company; ACE FIRST AMENDED COMPLAINT
DURAFLO SYSTEMS, LLC. a Nevada | FOR INJUNCTION AND DAMAGES
13 | Limited Liability Company; and PIPE | FOR:
RESTORATION, INC., a California
14 | Corporation, 1) PATENT INFRINGEMENT
2) FEDERAL UNFAIR
15 Plaintiffs, COMPETITION [LANHAM ACT]
Vs. (3) VIOLATION OF CALIFORNIA
16 BUSINESS & PROFESSIONS
PIPELINE RESTORATION CODE §§ 17200 ET SEQ. AND
17 | PLUMBING, INC., a California 17500
Corporation, f/k/a COAST BUILDING
18 | & PLUMBING, INC., d/b/a PIPELINE | DEMAND FOR JURY TRIAL
RESTORATION, PIPELINE
19 | RESTORATION SERVICES, and
PIPELINE RESTORATION
20 | SERVICES, INC; ROY TERRY, an
individual; and DOES 1 through 10,
21 | inclusive,
22 Defendants.
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Plaintiffs PIPE RESTORATION TECHNOLOGIES, LLC (“PRT”), ACE
DURAFLO SYSTEMS, LLC (“ACE”) and PIPE RESTORATION, INC.
(“PRI’”)(collectively, “Plaintiffs’”), for themselves alone in their Complaint against
defendants PIPELINE RESTORATION PLUMBING, INC., formerly known as
COAST BUILDING & PLUMBING, INC., d/b/a PIPELINE RESTORATION,
PIPELINE RESTORATION SERVICES, and PIPELINE RESTORATION
SERVICES, INC. (“PRP”), ROY TERRY and DOES 1 through 10, inclusive
(collectively, “Defendants”), allege as follows:

JURISDICTION AND VENUE

1. This is an action involving claims of patent infringement under Title

35, United States Code, unfair competition under the Lanham Act, 15 U.S.C.
§§ 1051 et seq., and claims for unfair competition under California statutory law.
This Court has jurisdiction over Plaintiff’s federal claims pursuant to 28 U.S.C.
§§ 1331 and 1338(a) and (b). This Court has jurisdiction over Plaintiffs related
claims based on state law pursuant to 28 U.S.C. § 1367.

2. Venue is proper with this Court pursuant to 28 U.S.C. § 1391(b) and
(c), as Defendants reside in this judicial district, and a substantial part of the events,
omissions and acts which are the subject matter of this action occurred within the
Central District of California, and a substantial part of the property that is the
subject of the action is located in the Central District of California.

THE PARTIES

3. Plaintiff PRT is a Nevada Limited Liability Company with its principal
place of business located at 7477 W. Lake Mead Blvd., Suite 170, Las Vegas,
Nevada 89128. .

4. Plaintiff ACE is a Nevada Limited Liability Company with its principal

place of business located at 3122 West Alpine Street, Santa Ana, California 92704.

5 Plaintiff PRI is a California Corporation with its principal place of

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business located at 3122 West Alpine Street, Santa Ana, California 92704.

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6. Plaintiffs are informed and believe, and thereon allege, that defendant
PRP is a California corporation having its principal place of business located at
2911 E. Miraloma Ave., Unit 31, Anaheim, CA 92806. Plaintiffs are also informed
and believe that PRP was formerly known as Coast Building & Plumbing, Inc., and
has done and may continue to do business as “Pipeline Restoration,” “Pipeline
Restoration Services” and “Pipeline Restoration Services, Inc.”

7. Plaintiffs are informed and believe, and thereon allege, that defendant
Roy Terry is and at all relevant times has been, the owner and President of PRP, and
controls all aspects of the business of Coast Building.

8. The true names and capacities, whether individual, corporate, associate
or otherwise, of defendants DOES 1 through 10, inclusive, are unknown to
Plaintiffs, which therefore sues said defendants by such fictitious names. Plaintiffs
will seek leave of this Court to amend this Complaint to include their proper names
and capacities when they have been ascertained. Plaintiffs are informed and believe,
and based thereon allege, that each of the fictitiously named defendants participated
in and are in some manner responsible for the acts described in this Complaint and
the damage resulting therefrom.

9. Plaintiffs allege on information and belief that each of the defendants
named herein as Does 1 through 10, inclusive, performed, participated in, or abetted
in some manner, the acts alleged herein, proximately caused the damages alleged
hereinbelow, and are liable to Plaintiffs for the damages and relief sought herein.

10. Plaintiffs allege on information and belief that, in performing the acts
and omissions alleged herein, and at all times relevant hereto, each of the
Defendants was the agent and employee of each of the other Defendants and was at
all times acting within the course and scope of such agency and employment with
the knowledge and approval of each of the other Defendants.

PLAINTIFES’ BUSINESS ©

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11. Plaintiff PRT developed and owns a proprietary system for cleaning

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and reconditioning pipelines, as well as coating pipelines to prevent corrosion and/or
stop leaks, together with other related repairs and services. This process uses a
proprietary epoxy. PRT’s process involves cleaning, drying and then sanding the
interior of the pipeline. An epoxy is then air-blown to coat the interior of the
pipeline. PRT’s epoxy is NSF® certified for use in all of the applications in which
it is used. The NSF® approval process is a rigorous one in which the applicant is
required to specify the actual product formulation and product conditions of use,
such as the type of product, pipe diameter, water contact temperature, cure time and
temperature, and any pre- or post-curing conditions. If the product passes the
rigorous approval process, it is approved only as to the information and conditions
specified by the applicant.

12. PRT owns a robust intellectual property portfolio relating to its
business. For example, on January 1, 2013, the United States Patent & Trademark
Office (“USPTO”) issued United States Patent no. 8,343,579, entitled “Methods and
Systems for Coating and Sealing Inside of Piping Systems” (“the ‘579 Patent”).
PRT owns all rights, title and interest in the ‘579 Patent.

13. Plaintiff ACE has a license from PRT to PRT’s technology and
intellectual property discussed above. ACE, in turn, franchises and licenses such
technology and intellectual property to franchisees and licensees throughout the
United States, including in geographic areas in which Defendants do business.

14. Plaintiff PRI is a franchisee of ACE, and as such, performs pipe
restoration work, including in the geographic areas in which Defendants do business
and in direct competition with Defendants.

15. The Application upon which the ‘579 Patent is based was published by
the USPTO on September 30, 2010. On information and belief, in early 2011,

Defendants’ engaged patent counsel to research PRT’s patents and patent

patents. On information and belief, Defendants’ likely were made aware of the

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publication of the Application that became the ‘579 Patent at least as of early 2011.
On information and belief, Defendants also likely were made aware of the issuance
and content of the ‘579 Patent on or shortly after January 1, 2013. Additionally,
Plaintiffs properly mark their goods and services with the ‘579 Patent, thereby
providing prior constructive notice of the ‘579 Patent to Defendants.
DEFENDANTS’ BUSINESS, INFRINGEMENT AND FALSE ADVERTISING

16. Oninformation and belief, Defendants are in the business of, among

other things, plumbing. As part of their plumbing operations, Defendants offer an
epoxy-based pipe restoration process that is similar in some respects to Plaintiffs’

process described above. Defendants compete with Plaintiffs for pipe restoration

work in small diameter, potable water applications.

17. Inconnection with advertising their pipe restoration services,
Defendants have made, and continue to make, false and misleading representations
in marketing and other materials in an effort to confuse actual and potential
customers and compete unfairly with Plaintiffs in the marketplace.

18. On February 22, 2011, Plairitiff PRT filed a lawsuit against Defendants
arising out of, among other things, the following false statements that Defendants
marketing materials included at that time:

e Defendants stated in marketing and other materials that all of

Defendants’ materials are approved for potable water contact and are

certified to NSF/ANSI Standard 61. On information and belief, this

statement was false because the epoxy Defendants use and have used

is not and was not approved for the small diameter application in

which Defendants use it and have used it.

e Defendants also made statements that the epoxy materials used by

Defendants have been in use worldwide for over 45 years and have

United Kingdom alone. On information and belief, this statement was

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false and/or misleading because it falsely suggests that the epoxy used
by Defendants has been used to such extent in small diameter, potable
water applications, which is false.

e Defendants also stated that their process stops all future corrosion of
the piping system, which is false.

e Defendants also stated that their pipe restoration service is the “only
solution” to prevent slab leaks or other pinhole leaks. This statement
is false.

e Defendants also stated that their process results in no waste to
landfills. This is false.

e Defendants also stated that they are the only company that specifically
targets the repair of single water lines. This statement is false.

19. Asaresult of the lawsuit and Defendants’ recognition that these
statements were false, Defendants took down the internet site on which these

statements had been made, i.e., www.pipelinerestoration.com.

20. However, recently, Defendants have reinstituted their use of the

pipelinerestoration.com website, and continue to make false and misleading

statements in an effort to mislead actual and potential customers of Defendants —

who are also potential customers of Plaintiffs — in an effort to steer business away

from Plaintiffs to Defendants. The false and misleading statements that are

currently on www.pipelinerestoration.com include:

e Defendants continue to state that all of Defendants’ materials are
approved for potable water contact and are certified to NSF/ANSI
Standard 61. On information and belief, this statement is false
because the epoxy Defendants use and have used is not and was not

approved for the small diameter application in which Defendants use

e Defendants continue to make statements that the epoxy materials used

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by Defendants have been in use worldwide for over 45 years and have

been applied to more than 5,000 miles of domestic water lines in the

United Kingdom alone. On information and belief, this statement is

false and/or misleading because it falsely suggests that the epoxy used

by Defendants has been used to such extent in small diameter, potable

water applications, which is false.

e Defendants also state that their process stops all corrosion “for the life
of your home,” which is false.
e Defendants also state that they are the “only company offering a

single line service... .” This statement is false.

e Defendants continue to state that their process results in no waste to
landfills. This is false.
e Defendants state in marketing materials that their technology and

materials have been in use for over 45 years in 85,000 miles of pipe.

This statement if false.

21. All of the above-referenced statements have a tendency to deceive, and
on information and belief have actually deceived, a substantial segment of the
consuming public. Such deception is material and likely to influence purchasing
decisions.

22. Defendants have caused their falsely advertised goods and services to
be advertised and/or sold in interstate commerce. On information and belief,
Plaintiffs have been injured by such false statements by, among other things, the
direct diversion of business from Plaintiffs to Defendants. .

23. On information and belief, Defendants also routinely and consistently
violate air quality laws and regulations, including those that are enforced by the

South Coast Air Quality Management District, the California Environmental

required to be registered and compliant with rules relating to the use of their diesel

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engines. Defendants also are required to be registered and compliant with rules
relating to the use of coatings. On information and belief, Defendants are not so
registered or compliant.

24. As stated above, on information and belief, the epoxy coating
Defendants use in connection with their pipe restoration business is not approved for
small diameter pipes. Nor is it approved to be in contact with drinking water in
small diameter pipes. On information and belief, by using its epoxy coating in
unapproved applications, Defendants violate the Health and Safety Code of the State
of California and other state and federal laws and regulations.

25. The conduct described above also violates various provisions of the
California Contractor’s Licensing Laws. For example, on information and belief,
Defendants are in violation of section 7110, which prohibits willful or deliberate
disregard and violation of the building laws of California or political subdivision
thereof, and the provisions of the California Health and Safety or Water Codes. On
information and belief, the conduct described above also violates section 7161 of the
Contractor’s Licensing Laws, which section provides that it is a misdemeanor to
Use false, misleading, or deceptive advertising as an inducement to enter into any
contract for a work of improvement, or make any substantial misrepresentation in
the procurement of a contract for a home improvement or other work of
improvement.

26. On information and belief, defendant Terry personally took part in the
conduct that constitutes patent infringement and unfair competition alleged herein.
To the extent any others were involved is such conduct, Terry specifically directed
such others to engage in such conduct. Terry actively participated in, and aided and
abetted, the patent infringement and unfair competition alleged herein.

FIRST CLAIM FOR RELIEF

27. Plaintiffs reallege each and every allegation set forth in paragraphs 1

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through 26, inclusive, and incorporate them herein by this reference.

28. Defendants have practiced and continue to practice in the United States
the process that is described in one or more claims of the ‘579 patent. As a result,
Defendants have infringed and are infringing the ‘579 patent.

29. On information and belief, Defendants’ infringement of the ‘579 patent
has been and will continue to be willful, wanton and deliberate with full knowledge
and awareness of Plaintiffs’ patent rights.

30. Plaintiffs have been damaged in an amount to be determined at trial,
but which is no less than a reasonable royalty, and irreparably injured by
Defendants’ infringing activities. Plaintiffs will continue to be so damaged and
irreparably injured unless such infringing activities are enjoined by this Court.

31. Moreover, in light of the willful nature of Defendants’ conduct, this
case should be deemed “exceptional” under the Patent Laws. As a result, in addition
to damages, Plaintiffs are entitled to enhanced damages and their attorneys’ fees and
costs incurred herein.

32. In addition to being liable as a direct infringer, defendant Terry also
actively induced the infringement by PRP and, therefore, is liable for inducing
infringement.

SECOND CLAIM FOR RELIEF
(Federal Unfair Competition — 15 U.S.C. § 1125)
33. Plaintiffs reallege each and every allegation set forth in paragraphs 1

through 26 inclusive, and incorporate them herein by this reference.

34. Defendants’ false statements in advertising materials and otherwise as
described in paragraphs 17 to 26 above, constitute violations of 15 U.S.C. § 1125 of
the Lanham Act.

35. Defendants’ aforesaid acts constitute deliberate and intentional

Plaintiffs for which there is no adequate remedy at law. Given the willful nature of

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Defendants’ conduct, this is an “exceptional” case under the Lanham Act, entitling
Plaintiffs to their attorneys’ fees incurred herein.
THIRD CLAIM FOR RELIEF
(California Business And Professions Code §§ 17200 et seq. and 17500)
36. Plaintiffs reallege each and every allegation set forth in paragraphs 1

through 26, inclusive, and incorporate them herein by this reference.

37. The foregoing acts and conduct of Defendants described in paragraphs
17 through 26, constitute unfair trade practices and unfair competition under
California Business and Professions Code (“Cal. B&P Code”) §§ 17200 et seq., and
False Advertising under Cal. B&P Code § 17500.

38. Defendants’ acts have caused damage to Plaintiffs, including incidental
and general damages, lost profits, and out-of-pocket expenses. Defendants should
therefore be required to disgorge and restore to Plaintiffs all profits and other
expenses as may be incurred by Plaintiffs.

39. Plaintiffs further seek an injunction to enjoin Defendants from
continuing such unfair business practices and false advertising.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1. That Defendants, their officers, directors, agents, servants, employees,
and all persons and entities in active concert or participation with them, or any of
them, be preliminarily and permanently enjoined and restrained from further
infringement of the ‘579 Patent;

2. A Judgment by the Court that Defendants have infringed and are
infringing the ‘579 Patent;

3. An award of damages for infringement of the ‘579 Patent, together with

prejudgment interest and costs, said damages to be trebled by reason of the

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4. An award of Plaintiffs’ reasonable attorneys’ fees pursuant to 35 U.S.C.
§ 285 in that this is an exceptional case;

5. That Defendants, their officers, directors, agents, servants, employees,
and all persons and entities in active concert or participation with them, or any of
them, be preliminarily and permanently enjoined and restrained from publishing
false or misleading statements, as alleged herein;

6. That Plaintiffs have and recover from Defendants reasonable attorneys’
fees, costs and disbursements relating to this action because this is an “exceptional
case” pursuant to the Lanham Act;

7. That the Court grant Plaintiffs restitution from Defendants by
disgorgement of all profits earned through Defendants conduct;

8. For restitution of any money or property Defendants wrongfully
obtained, pursuant Business and Professions Code section 17203;

9, That any monetary award include pre- and post-judgment interest at the
highest rate allowed by law;

10. For costs of suit; and

11. For such other and further relief as the Court may deem just and proper.

Dated: May 10, 2013 RUTAN & TUCKER, LLP
RONALD P. OINES
CHELSEA A. EPPS

By:

N Ronald P. Oines
Attorneys for Plaintiffs PIPE
RESTORATION TECHNOLOGIES,
LLC, ACE DURAFLO SYSTEMS,
LLC and PIPE RESTORATION, INC.

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DEMAND FOR JURY TRIAL

Pursuant to Local Rule 38-1 of the Local Rules of the United States District
Court for the Central District of California, Plaintiffs hereby demand a jury trial in

this action.
Dated: May 10, 2013

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RUTAN & TUCKER, LLP
RONALD P. OINES
CHELSEA A. EPPS

By: LS

\ Ronald F* Oines
Attorneys for Plaintiffs PIPE
RESTORATION TECHNOLOGIES,
LLC, ACE DURAFLO SYSTEMS,
LLC and PIPE RESTORATION, INC.

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